Case 2:05-cr-20318-.]TF Document 6 Filed 08/29/05 Page 1 of 2 Page|D 8

 

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UNITED sTATEs 0F AMERICA _`
-vs- Case ;0.2'\:(;§¢('1["210.31§"}%*!$
MAURICF. NASH

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and 0R1)ERED in 167 Norr,h Main, Memphis, this 2 C= day of August,

 

2005.
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TU M. PHAM
UNITED STATES MAGISTRATE JUDGE
Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Ofi'lee

Assistant Federal Public Defender
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MAURlCE NASH

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-203 l 8 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

